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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     _______________________________________
 7                                          )
     NORTHWEST ADMINISTRATORS, INC., )                       Case No. MC20-0099RSL
 8                                          )
                           Plaintiff,       )
 9              v.                          )
                                            )                ORDER TO ISSUE WRIT OF
10   CY EXPO, LLC,                          )                GARNISHMENT
                                            )
11                         Defendant,       )
                v.                          )
12                                          )
     JPMORGAN CHASE BANK NA,                )
13                                          )
                           Garnishee.       )
14   _______________________________________)
15
           This matter comes before the Court on plaintiff’s “Application for Writ of Garnishment”
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     for property in which the defendant/judgment debtor, Cy Expo, LLC, has a substantial
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     nonexempt interest and which may be in the possession, custody, or control of the garnishee,
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     JPMorgan Chase Bank NA. The Court having reviewed the record in this matter, it is hereby
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     ORDERED that the Clerk of Court shall issue the Writ of Garnishment (Dkt. # 1-2) submitted by
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     plaintiffs’ counsel on October 28, 2020.
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22         Dated this 6th day of November, 2020.
23
24                                              Robert S. Lasnik
25                                              United States District Judge
26


     ORDER TO ISSUE WRIT OF GARNISHMENT
